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 KIRKLAND & ELLIS LLP
 Citigroup Center
 153 East 53rd Street
 New York, New York 10022-4611
 Telephone: (212) 446-4800
 Facsimile: (212) 446-4900
 Richard M. Cieri (RC 6062)
 Marc Kieselstein (admitted pro hac vice)
 David Seligman (admitted pro hac vice)
 Jeffrey S. Powell (admitted pro hac vice)
 Mark E. McKane (admitted pro hac vice)
 Christopher W. Keegan (admitted pro hac vice)

 Counsel for the Reorganized Debtors

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                               )
 In re:                                        )
                                               )   Chapter 11
 Calpine Corporation, et al.,                  )
                                               )   Case No. 05-60200 (BRL)
                       Reorganized Debtors.    )   Jointly Administered
                                               )


  THE REORGANIZED DEBTORS’ RESPONSE TO SAI TRUST’S LOCAL RULE 56.1
      STATEMENT IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

          The evidence relied upon by SAI Trust, in the form of Mr. Membreno’s declaration, does

 not support its motion for summary judgment. Pursuant to Local Rule 56.1, submissions must be

 restricted to concise statements of material facts. Broad assertions not supported by specific

 facts, legal arguments and conclusory assertions are in violation of Local Rule 56.1’s

 requirements and should be disregarded.       See Doe v. National Bd. of Podiatric Medical

 Examiners, Case No. 03 Civ. 4034. 2004 WL 912599 at *3-4 (S.D.N.Y April 29, 2004 )

 (discussing appropriate remedies when movant fails to submit evidence sufficient to meet its

 burden, including declining to consider “those aspects of a supporting affidavit that do not

 appear to be based on personal knowledge contain admissible hearsay or make generalized and
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 conclusory statements) (citing Hollander v. American Cyanamid Co., 172 F.3d 192, 198 (2d.

 Cir.1999)). Mr. Membreno’s declaration does not establish his personal knowledge of several

 alleged material facts, contains broad sweeping assertions unsupported by any specific facts, and

 includes legal arguments lifted directly from SAI Trust’s Motion for Summary Judgment,

 complete with case citations. To the extent SAI Trust’s evidence is nothing more than recitation

 of its allegations and legal arguments set forth in its Motion for Summary Judgment, the

 Reorganized Debtors incorporate their Response to SAI Trust’s Motion for Summary Judgment

 in response to such allegations.1

         Subject to these objections, the Reorganized Debtors respond as follows to SAI Trust’s

 Local Rule 56.1 statement.



 SAI Trust Alleged Fact No. 1:

         1. On or about May 17, 1987, SAI Geothermal, Inc. (hereinafter “SAI”) and Freeport

 McMoRan Resource Partners, L.P. (“Freeport”) entered into an agreement entitled “Agreement

 For Purchase And Sale Of Assets (hereinafter “Agreement For Purchase”) See Declaration of

 Robert Membreno dated August 6, 2008, hereinafter “Membreno Dec.”, at ¶ 3 and Exhibit “A”

 annexed thereto.

 Response to No. 1:

         It is undisputed that on or about May 17, 1987, SAI Geothermal, Inc. (hereinafter “SAI”)

 and Freeport McMoRan Resource Partners, L.P. (“Freeport”) entered into an agreement entitled

 “Agreement For Purchase And Sale Of Assets.



 1   Unless otherwise defined herein, all capitalized terms shall be defined as used in the Reorganized Debtors’
     Motion for Summary Adjudication Discharging SAI Trust’s Claim Nos. 6309, 6314, 6315, 6316, 6327, and
     6238 or the Reorganized Debtors’ Response to SAI Trust’s Motion for Summary Judgment.




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 SAI Trust Alleged Fact No. 2:

        2. Pursuant the Agreement for Purchasing, Article I, ¶ 1.2(e), after commercial

 operation of a geothermal power plant to be constructed by Freeport known as West Ford Flat

 located in Sonoma County, California, Freeport was contractually obligated to pay SAI a Net

 Profits Interest (hereinafter “NPI”) representing the right to receive a monthly payment in an

 amount equal to 6% of the Net Income for the month. Membreno Dec., ¶ 4.

 Response to No. 2:

        It is undisputed, but immaterial that the Agreement for Purchase, Article I, ¶ 1.2(e) states

 “after the Date of First Commercial Operation, Buyer shall pay Seller the amount of the Net

 Profits Interest; commencing as provided in Section 1.5” and that, at the time the contract went

 into effect, the annual payment was equal to 6% of the Net Income for the month. Whether SAI

 Trust’s predecessor-in-interest was entitled to a payment of 6% of Net Income after First

 Commercial Operation is not relevant to any dispute before this Court today.



 SAI Trust Alleged Fact No. 3:

        3. Thereafter, SAI thereafter transferred a portion of its rights to receive NPI to SAI

 Trust and SAI Trust now holds a 4.55% NPI in the gross revenues of West                 Ford Flat.

 Membreno Dec., ¶ 5.

 Response to No. 3:

        It is undisputed that SAI Trust now holds a 4.55% Net Profit Interest in the gross

 revenues of West Ford Flat.



 SAI Trust Alleged Fact No. 4:

        4. Effective July 2, 1990, Freeport assigned its interest in, to, and under the Agreement



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 for Purchase and a Standard Offer 4 Power Purchase Agreement it received from Pacific Gas &

 Electric Company (“Assigned Agreements”) to Santa Rosa Geothermal Company, L.P.

 (hereinafter “Santa Rosa”). Membreno Dec., ¶ 6.

 Response to No. 4:

        Undisputed, but immaterial as the parties’ various transfers of interest related to the West

 Ford Plant are not a disputed issue, as SAI Trust acknowledges in its papers.            See e.g.,

 “Declaration of Marc Membreno” filed on June 11, 2008, docket number 4893.



 SAI Trust Alleged Fact No. 5:

        5. On January 1, 1994, Santa Rosa amended its partnership name to Calpine Geysers

 Company, L.P. (hereinafter “Calpine Geysers”). Membreno Dec., ¶ 7.

 Response to No. 5:

        Undisputed, but immaterial as the parties’ various transfers of interest related to the West

 Ford Plant are not a disputed issue, as SAI Trust acknowledges in its papers.            See e.g.,

 “Declaration of Marc Membreno” filed on June 11, 2008, docket number 4893.



 SAI Trust Alleged Fact No. 6:

        6. The term “NPI” is unambiguously defined in §§ 1.5, 1.6, 9.10 and Exhibit “F” of the

 Agreement for Purchase. Membreno Dec., ¶ 8, Exhibit “A”.

 Response to No. 6:

        Whether “NPI” is unambiguously defined in the Purchase Agreement and Exhibit F

 attached thereto is not a material fact for either SAI Trust or the Reorganized Debtors to

 determine as interpretation of the contract is a question of law for the Court.          Roden v.

 AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct. App. 2007). Further, SAI Trust fails



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 to identify any admissible evidence in support of this alleged undisputed fact as Mr. Membreno’s

 unsupported assertion is not based upon admissible evidence nor is he competent to testify on the

 interpretation of the contract terms at issue.



 SAI Trust Alleged Fact No. 7:

        7. At the time of issuance of the very first NPI statement (representing the August, 1989

 NPI payment), Calpine’s predecessor, Freeport, simultaneously submitted a detailed explanation

 of the line items comprising the NPI statement for the West Ford Flat power plant on December

 13, 1989. Membreno Dec., ¶ 9 and Exhibit “B” annexed thereto.

 Response to No. 7:

        It is undisputed but immaterial that Calpine’s predecessor provided a letter, dated

 December 13, 1989 outlining the line items comprising the NPI statement for the West Ford Flat

 power plant. Regardless of what is set forth in the December 13, 1989 each monthly NPI reports

 provided to SAI Trust provide financial detail and include support for both the revenue and cost

 calculations used to determine the monthly NPI payments. See First Tipton Decl. at ¶ 5; see also

 monthly reports attached as Exhibit F to Membreno Declaration.



 SAI Trust Alleged Fact No. 8:

        8. According to this explanation, the following items were to be used in calculating NPI

 payable to SAI: Electric Revenue, Interest Income from Overnight Deposits, Escrow Balance,

 Royalty Payments, Lease Operating Expenses, Overhead, Property Taxes, Capital Additions -

 Major construction, Capital Additions - Overhead, Capital Additions - Development Capital,

 Project Financing, Invested Capital and Loan Proceeds. Membreno Dec., ¶10.




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 Response to No. 8:

        It is undisputed, but immaterial that the December 13, 1989 letter identified the

 categories of expenses payable to SAI Trust as Electric Revenue, Interest Income from

 Overnight Deposits, Escrow Balance, Royalty Payments, Lease Operating Expenses, Overhead,

 Property Taxes, Capital Additions - Major construction, Capital Additions - Overhead, Capital

 Additions - Development Capital, Project Financing, Invested Capital and Loan Proceeds.

 Regardless of what is set forth in the December 13, 1989 each monthly NPI reports provided to

 SAI Trust provide financial detail and include support for both the revenue and cost calculations

 used to determine the monthly NPI payments. See First Tipton Decl. at ¶ 5; see also monthly

 reports attached as Exhibit F to Membreno Declaration.        Further, the proper categories of

 expenses are set forth in the Purchase Agreement and Exhibit F thereto. See Exhibit A to

 Membreno Declaration at §§ 1.5, 9.10 and Exhibit F thereto.



 SAI Trust Alleged Fact No. 9:

        9. Notably absent from this list is any mention of the term “Allocated Expenses.” More

 notable is the fact that for approximately 11 years thereafter, there was no charge for “Allocated

 Expenses.” Membreno Dec., ¶11 and Exhibit “C” annexed thereto, which is the very first NPI

 statement received from Debtors on or about December 13, 1989, representing the first NPI for

 August, 1989 to SAI Trust.

 Response to No. 9:

        It is undisputed but immaterial that the monthly reports did not include the term

 “Allocated Expenses. Allocated Expenses are a subset of Lease Operating Expenses included

 after the Geysers made the management decision to consolidate operations of the West Ford

 Plant with the Geysers after it came to own substantially all of power plants at the Geysers.


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 Second Tipton Decl. at ¶ 6. The Allocated expenses represent West Ford Plant’s share of the

 operating expenses, determined by the pro rata share of the annual budgeted costs. First Tipton

 Decl. at ¶¶ 12-13.    Allocated expenses are not a new category of expenses, but are those

 categories of expenses and operations that are allocated from consolidated business operations.

 Third Tipton Decl. at ¶¶ 4-5, 10.



 SAI Trust Alleged Fact No. 10:

        10. Under the heading “Operating Expenses”, the following line item entries are

 included: Royalty Payments (Not Subject to Overhead); Lease Operating Expenses, and

 Overhead 15% (which is 15% of the Lease Operating Expenses).              There is no entry for

 “Allocated Expenses.” Membreno Dec., ¶12.

 Response to No. 10:

        It is undisputed but immaterial that the August 1989 NPI report did not contain an entry

 for “Allocated Expenses.” The Allocated Expenses are a subset of Lease Operating Expenses

 included after the Geysers made the management decision to consolidate operations of the West

 Ford Plant with the Geysers after it came to own substantially all of power plants at the Geysers.

 Second Tipton Decl. at ¶ 6. The Allocated expenses represent West Ford Plant’s share of the

 operating expenses, determined by the pro rata share of the annual budgeted costs. First Tipton

 Decl. at ¶¶ 12-13.    Allocated expenses are not a new category of expenses, but are those

 categories of expenses and operations that are allocated from consolidated business operations.

 Third Tipton Decl. at ¶¶ 4-5, 10.



 SAI Trust Alleged Fact No. 11:

        11. These Operating Expenses were the course of dealing established between SAI Trust


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 and Debtors and/or their predecessors-in-interest for more than 11 years. Membreno Dec., ¶13.

 Response to No. 11:

        Disputed. Whether the “Operating Expenses” identified in the December 13, 1989 letter

 constitute a course of dealing between SAI Trust and the Reorganized Debtors is a question of

 law and not properly a material fact. SAI Trust fails to identify any admissible evidence in

 support of this alleged undisputed fact as his unsupported assertion is not based upon admissible

 evidence nor is he competent to testify on the interpretation of the contract terms at issue. The

 “Operating Expenses” included in the NPI reports between 1989 and 2001 always included the

 same categories of permissible expenses as the “Operating Expenses” included in the NPI reports

 between 2001 and the current date. Third Tipton Decl. ¶¶4-5, 10. Allocated Expenses are a

 subset of Lease Operating Expenses included after the Geysers made the management decision

 to consolidate operations of the West Ford Plant with the Geysers after it came to own

 substantially all of power plants at the Geysers. Second Tipton Decl. at ¶ 6. The Allocated

 expenses represent West Ford Plant’s share of the operating expenses, determined by the pro rata

 share of the annual budgeted costs. First Tipton Decl. at ¶¶ 12-13. Allocated expenses are not a

 new category of expenses, but are those categories of expenses and operations that are allocated

 from consolidated business operations. Third Tipton Decl. at ¶¶4-5, 10.



 SAI Trust Alleged Fact No. 12:

        12. Conversely, commencing with the April, 2001 NPI statement submitted by Calpine, a

 new line item entry appeared under the heading “Allocated Expenses.” Membreno Dec., ¶14 and

 Exhibits “D”, “E” and “F” annexed thereto.




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 Response to No. 12:

        Undisputed but immaterial.      While the monthly NPI reports starting in April 2001

 included a sub-heading for “Allocated Expenses” under “Operating Expenses,” the categories of

 costs and expenses included in Allocated Expenses had always been included as Operating

 Expenses. The Reorganized Debtors added the sub-heading for Allocated Expenses to provide

 transparency in their NPI calculation. Third Tipton Decl. at ¶ 4. Allocated Expenses are a subset

 of Lease Operating Expenses included after the Geysers made the management decision to

 consolidate operations of the West Ford Plant with the Geysers after it came to own substantially

 all of power plants at the Geysers. Second Tipton Decl. at ¶ 6. The Allocated expenses

 represent West Ford Plant’s share of the operating expenses, determined by the pro rata share of

 the annual budgeted costs. First Tipton Decl. at ¶¶ 12-13. Allocated expenses are not a new

 category of expenses, but are those categories of expenses and operations that are allocated from

 consolidated business operations. Third Tipton Decl. at ¶¶4-5, 10.



 SAI Trust Alleged Fact No. 13:

        13. Prior to April, 2001, there was no entry for “Allocated Expenses.” Membreno Dec.,

 ¶14 and Exhibits “D” through “F.”

 Response to No. 13:

        Undisputed but immaterial as the Allocated Expenses are a subset of Lease Operating

 Expenses included after the Geysers made the management decision to consolidate operations of

 the West Ford Plant with the Geysers after it came to own substantially all of power plants at the

 Geysers. Second Tipton Decl. at ¶ 6. The Allocated expenses represent West Ford Plant’s share

 of the operating expenses, determined by the pro rata share of the annual budgeted costs. First

 Tipton Decl. at ¶¶ 12-13. Allocated expenses are not a new category of expenses, but are those


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 categories of expenses and operations that are allocated from consolidated business operations.

 Third Tipton Decl. at ¶¶4-5, 10.



 SAI Trust Alleged Fact No. 14:

        14. Calpine has offered no explanation for its unilateral decision to include “Allocated

 Expenses” which prior to April, 2001, were not charged. Membreno Dec., ¶15.

 Response to No. 14:

        Disputed but immaterial. Whether the Reorganized Debtors properly include allocated

 expenses in the NPI calculation is a question of law for the court to decide.         Roden v.

 AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct. App. 2007).             Further, the

 Reorganized Debtors on at least two occasions met with SAI Trust to explain the allocated

 expenses and the calculation of the NPI payment. First Tipton Decl. ¶ 8. The Reorganized

 Debtors also provided supplemental information on multiple occasions when SAI Trust

 requested such information. First Tipton Decl. ¶¶ 5-7.



 SAI Trust Alleged Fact No. 15:

        15. Nor has Calpine explained the basis for charging a 15% overhead charge on the sum

 of “Allocated Expenses” and “Lease Operating Expenses.” Membreno Dec., ¶16.

 Response to No. 15:

        Disputed but immaterial. The Reorganized Debtors on at least two occasions met with

 SAI Trust to explain the allocated expenses and the calculation of the NPI payment. First Tipton

 Decl. ¶ 8.   The Reorganized Debtors also provided supplemental information on multiple

 occasions when SAI Trust requested such information. First Tipton Decl. ¶¶ 5-7. Further, the

 basis for charging 15% overhead charge on the sum of “Operating Expenses” is set forth in the


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 plain language of the Purchase Agreement and Exhibit F attached thereto and is a question of law

 for the Court to resolve. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). As set forth in Exhibit F of the Purchase Agreement, overhead charges are to be set

 at “fifteen percent of the cost of Operating the Joint Property” exclusive of certain costs.

 Because the Allocated Expenses represent a portion of the “cost of Operating the Joint Property”

 they are included in the 15% Overhead charge. Third Tipton Decl. at ¶ 8.



 SAI Trust Alleged Fact No. 16:

        16. The 15% overhead charge had been based solely upon the “Lease Operating

 Expenses.” This had been the course of dealings established between SAI Trust and Debtors

 and/or their predecessors-in-interest for more than 11 years. Prior to April, 2001, the overhead

 charge on each and every single NPI was 15% of Lease Operating Expense only. Membreno

 Dec., ¶16.

 Response to No. 16:

        The facts asserted in statement number 16 are disputed-in-part but immaterial. First, the

 Reorganized Debtors do not dispute that prior to consolidation of the West Ford Plant, the

 monthly NPI reports included only the “Lease Operating Expenses” to represent the cost of

 operating the West Ford Plant. The Reorganized Debtors incorporate their response to SAI

 Trust’s alleged fact number 13. Once the consolidation occurred, the “Operating Expenses”

 were broken down into sub-categories of both “Lease Operating Expenses” and “Allocated

 Expenses.” As set forth in Exhibit F of the Purchase Agreement, Overhead Charges are set at

 “fifteen percent of the cost of Operating the Joint Property” exclusive of certain costs. Because

 the Allocated Expenses represent a portion of the “cost of Operating the Joint Property” they are

 included in the 15% Overhead charge.        Third Tipton Decl. at ¶ 8.     Further, whether the


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 “Operating Expenses” identified in the December 13, 1989 letter constitute a course of dealing

 between SAI Trust and the Reorganized Debtors is a question of law and not properly a material

 fact. SAI Trust fails to identify any admissible evidence in support of this alleged undisputed

 fact as his unsupported assertion is not based upon admissible evidence nor is he competent to

 testify on the interpretation of the contract terms at issue.



 SAI Trust Alleged Fact No. 17:

         17. In accordance with §1.6 of the Agreement for Purchase, NPI statements are to be

 certified by the chief officer of Calpine Corporation (hereinafter “Calpine”) annually.

 Membreno Dec., ¶17.

 Response to No. 17:

         It is undisputed that pursuant to section 1.6 of the Purchase Agreement annual NPI

 reports are to be certified by the chief financial officer.



 SAI Trust Alleged Fact No. 18:

         18. Prior to 2000, year end NPI statements prepared by Calpine and/or its wholly owned

 subsidiary(ies) were certified by Calpine’s and/or its predecessors-in-interest’s chief financial

 officer annually. Membreno Dec., ¶18.

 Response to No. 18:

         It is undisputed that the Reorganized Debtors’ and/or their predecessors-in-interest’s

 chief financial officer certified the annual NPI reports prior to 2000.



 SAI Trust Alleged Fact No. 19:

         19. In fact, between August, 1989 and approximately the end of the fiscal year, 2000, a



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 period of 11 years, all NPI statements prepared by Calpine and/or its wholly owned

 subsidiary(ies) were certified by Calpine’s and/or its predecessors-in-interest’s chief financial

 officer annually. Membreno Dec., ¶19.

 Response to No. 19:

         Disputed. SAI Trust received monthly NPI statements, but only the annual NPI reports

 were certified. Exhibit F to the Membreno Declaration shows monthly NPI reports without

 certification.   Further, the Purchase Agreement does not require all NPI statements to be

 certified. Ex. A to Membreno Declaration § 1.6.



 SAI Trust Alleged Fact No. 20:

         20. However, since April, 2001, annual certifications have ceased to be prepared by

 Calpine and/or its wholly owned subsidiary(ies). Membreno Dec., ¶20.

 Response to No. 20:

         It is undisputed that since 2001 the annual NPI reports have not been certified by the

 Reorganized Debtors’ chief financial officer.



 SAI Trust Alleged Fact No. 21:

         21. Since 2001, no officer of Calpine, or its wholly owned subsidiary(ies) have certified

 any year end statement as required under the Agreement for Purchase. Membreno Dec., ¶21.

 Response to No. 21:

         It is undisputed that since 2001 the annual NPI reports have not been certified by an

 officer of the Reorganized Debtors.




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 SAI Trust Alleged Fact No. 21:

        22. Failure to provide annual certified NPI statements is a clear breach of the Agreement

 for Purchase. §1.6 of the Purchase Agreement states, in pertinent part:

            Audit Rights of Seller.

        Buyer shall maintain complete and accurate accounting records of the accounts
        which are used to calculate the Net Profits Interest. Within 60 days after the end
        of each fiscal year of buyer, commencing with the fiscal year of Buyer in which
        the Date of First Commercial Operation occurs, it shall furnish Seller with a
        statement certified by Buyer’s chief financial officer showing in reasonable
        detail the calculation of the Net Profits Interest for the fiscal year then ended.


 Emphasis added. Membreno Dec., ¶22, Exhibit “A.”

 Response to No. 22:

        Whether the Reorganized Debtors breached the Purchase Agreement is a question of law

 for the Court to determine and is not a material fact for either SAI Trust or the Reorganized

 Debtors to determine. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). To the extent the breach of the Purchase Agreement is properly a material fact, it is

 disputed and the Reorganized Debtors’ incorporate by reference their arguments set forth in their

 Response to SAI Trust’s Motion for Summary Judgment. Further, SAI Trust fails to identify any

 admissible evidence in support of this alleged undisputed fact as his unsupported assertion is not

 based upon admissible evidence nor is he competent to testify on the interpretation of the

 contract terms at issue.



 SAI Trust Alleged Fact No. 23:

        23. SAI Trust holds a right to conduct annual audits of the operations of West Ford Flat

 after receipt of an annual certified NPI Statement in accordance with §1.6 of the Agreement for

 Purchase. §1.6 of the Purchase Agreement states, in pertinent part:



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        Seller (SAI) and its authorized representatives shall have the right, upon
        reasonable notice to buyer and between 9 A.M. and 5 P.M. weekdays to audit
        Buyer’s records to determine whether the calculation of the Net Profits Interest
        during the fiscal year then ended was in accordance with this Agreement.

 Membreno Dec., ¶23, Exhibit “A.”

 Response to No. 23:

        Disputed. SAI Trust holds a right to conduct annual audits of the operations of West

 Ford Flat upon reasonable notice to the Reorganized Debtors. The Purchase Agreement does not

 limit SAI Trust’s audit rights to after the receipt of any annual NPI report whether certified or

 not. See Third Tipton Decl. ¶ 9, Ex. A to Membreno Declaration § 1.6.



 SAI Trust Alleged Fact No. 24:

        24. Following an auditing for the period July 1, 1990 through December 21, 1990, and

 calendar year 1991 (the “1990 and 1991 audit”) a Settlement Agreement was entered February

 28, 1995 (hereinafter “Settlement Agreement”). Membreno Dec., ¶24 and Exhibit “H.”

 Response to No. 24:

        Undisputed but immaterial. The 1995 Settlement Agreement does not address Operating

 Expenses or whether the Reorganized Debtors properly allocate direct operating expenses

 pursuant to the Purchase Agreement. The Settlement Agreement is limited to financing and

 interest charges which are, and always have been, a completely separate section of the NPI

 calculation than the disputed Operating Expenses. See e.g. Monthly Reports attached as Ex. F to

 Membreno Declaration. The Settlement Agreement identified three categories of adjustments to

 the NPI payments: (1) “Overnight Interest” for bank accounts holding revenues generated by

 West Ford Plant, (2) revenue related from the termination of an escrow account, and (3) funds




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 related to re-financing of the West Ford Plant, with a lower interest rate and longer amortization

 period. See Ex. H to the Membreno Declaration.



 SAI Trust Alleged Fact No. 25:

         25. As set forth in the Settlement Agreement, the manner in which future NPI statements

 would be prepared was agreed2 by SAI Trust, Sonoma Geothermal Partners, L.P., (hereinafter

 “Sonoma”), Calpine Sonoma Inc. (hereinafter “Calpine Sonoma”) and Calpine, the parties

 thereto. Membreno Dec., ¶25.

 Response to No. 25:

         Disputed, but immaterial. The 1995 Settlement Agreement does not address Operating

 Expenses or whether the Reorganized Debtors properly allocate direct operating expenses

 pursuant to the Purchase Agreement and is limited to the financing and interest charges which

 are, and always have been, a separate section of the NPI monthly report. See Ex. F to Membreno

 Declaration. Further, the Settlement Agreement states:

         Except as specifically set forth herein, nothing herein shall affect the rights, duties
         or obligations of SAI Trust and Calpine in and under the Agreement for Purchase,
         specifically including, but not limited to Sections 1.6 and 9.5. Commencing with
         the Annual NPI Report for calendar year 1992 and continuing thereafter, Calpine
         agrees to prepare said Annual NPI Reports, and all monthly reports, in accordance
         with the terms of the Agreement for Purchase and this Settlement Agreement …

 Ex. H at pg. 8, ¶ 8. A. The Settlement Agreement explicitly requires the parties to continue to

 calculate and prepare the NPI reports “in accordance with the Agreement for Purchase” for

 issues not included in the Settlement Agreement. Further, the 1995 Settlement Agreement was

 entered into by Calpine Geysers Company, L.P., formerly known as Santa Rosa Geothermal

 Company, L.P., Calpine Corporation, Freeport McMoRan Resource Partners, Limited

 2   Now for a second time, including the original agreement entered into on May 18, 1987.




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 Partnership and SAI Trust by Robert J. Membreno, Trustee.             See Ex. H to Membreno

 Declaration at pg. 1.



 SAI Trust Alleged Fact No. 26:

           26. In addition to an agreement as to the manner in which NPI Statements would be

 prepared, as a result of this Settlement Agreement, the manner in which payments of net profits

 for 1992 and thereafter was agreed by the parties thereto. Membreno Dec., ¶26.

 Response to No. 26:

           Disputed. The Reorganized Debtors incorporate their response to SAI Trust alleged fact

 number 25 and state further that the 1995 Settlement Agreement does not address Operating

 Expenses or whether the Reorganized Debtors properly allocate direct operating expenses

 pursuant to the Purchase Agreement. The Settlement Agreement is limited to financing and

 interest charges which are, and always have been, a completely separate section of the NPI

 calculation than the disputed Operating Expenses. See e.g. Monthly Reports attached as Ex. F to

 Membreno Declaration. The Settlement Agreement identified three categories of adjustments to

 the NPI payments: (1) “Overnight Interest” for bank accounts holding revenues generated by

 West Ford Plant, (2) revenue related from the termination of an escrow account, and (3) funds

 related to re-financing of the West Ford Plant, with a lower interest rate and longer amortization

 period.     See Ex. H to the Membreno Declaration.       There is no further discussion of the

 calculation of the NPI payment and there is no admissible evidence submitted by SAI Trust, as

 Mr. Membreno’s general allegation is unsupported by any specific facts as required by Local

 Rule 56.1.




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 SAI Trust Alleged Fact No. 27:

        27. Under §8 A. of the Settlement Agreement entitled “Miscellaneous”, it states:

        Except as specifically set forth herein nothing herein shall affect the rights, duties
        or obligations of SAI Trust and CALPINE in and under the Agreement of
        Purchase, specifically including, but not limited, to Section 1.6 and 9.5.
        Commencing with the Annual NPI Report for calendar year 1992 and continuing
        thereafter, CALPINE agrees to prepare said Annual NPI Reports, and all monthly
        reports, in accordance with the terms of the Agreement for Purchase and this
        Settlement Agreement; and CALPINE further agrees to make all NPI payments
        which may accrue in favor of SAI Trust pursuant thereto.

 Membreno Dec., ¶27, Exhibit “H.”

 Response to No. 27:

        Undisputed.



 SAI Trust Alleged Fact No. 28:

        28. The subject of the Agreement for Purchase was, and still is, a geothermal power plant

 known as West Ford Flat located in Sonoma County, California, exclusively. Membreno Dec.,

 ¶28, Exhibit “H.”

 Response to No. 28:

        Undisputed. However, SAI Trust failed to identify any admissible evidence in support of

 this alleged undisputed fact as its citation is to the 1995 Settlement Agreement and not to any

 relevant portion of the Purchase Agreement.



 SAI Trust Alleged Fact No. 29:

        29. The Settlement Agreement governs the relationship of the parties concerning a

 geothermal power plant known as West Ford Flat located in Sonoma County, California,

 exclusively. Membreno Dec., ¶29, Exhibit “H.”




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 Response to No. 29:

        Disputed, but immaterial. SAI Trust does not provide any admissible evidence to support

 Mr. Membreno’s general assertion about what “governs the relationship” of the parties. The

 parties’ relationship is governed by common law and statutory obligations, the relevant course of

 dealing, the Purchase Agreement as well as the relevant portions of the Settlement Agreement.

 The Settlement Agreement itself provides that “nothing herein shall affect the rights, duties or

 obligations of SAI Trust and Calpine in and under the Agreement of Purchase.” See Ex. H to

 Membreno Declaration § 8.A.



 SAI Trust Alleged Fact No. 30:

        30. There is not now, nor has there ever been, any contract between SAI Trust and

 Calpine, nor any of their respective predecessors, subsidiaries, affiliates and related entities,

 where the subject of the contract was any power plant other than West Ford Flat. Membreno

 Dec., ¶30.

 Response to No. 30:

        Undisputed, but immaterial. Whether there are any other contracts between SAI Trust

 and the Reorganized Debtors is irrelevant to any dispute before this Court.



 SAI Trust Alleged Fact No. 31:

        31. On February 24-28, 1992, a trial was held in the Superior Court of the State of

 California in and for the County of Santa Clara in the case of Robert J. Membreno, Trustee of the

 SAI Trust v. Freeport McMoRan Partners, Limited Partnership, Calpine Corporation, Santa

 Rosa Geothermal Company L.P., Sonoma Geothermal Partners L.P., Calpine Sonoma, Inc., and

 Does 1 through 20, inclusive, and a judgment was entered in that matter. Membreno Dec., ¶¶31-


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 32 and Exhibit “I” thereto.

 Response to No. 31:

          Undisputed but immaterial. The only evidence submitted by SAI Trust does not show

 any factual nexus between the 1992 dispute and any issue relevant to the dispute before this

 Court.



 SAI Trust Alleged Fact No. 32:

          32. One of the issues decided as a result of the trial and Judgment was an attempt by

 Calpine to unilaterally alter the matter in which NPI was calculated,3 a tactic that the trial court

 determined was not permitted as the COPAS percentage rates “were not part of the (Agreement

 of Purchase). Exhibits I, p3, ¶[2]. Membreno Dec., ¶34.

 Response to No.32:

          Disputed. SAI Trust has failed to provide any admissible evidence regarding the issues

 decided as a result of the trial. Mr. Membreno is not qualified to testify about what issues were

 actually litigated or decided as a result of the trial, nor has he supported his general allegations

 with specific facts as required. The Reorganized Debtors do not dispute that the 1992 Judgment

 states “With respect to the calculation of Invested Capital, the COPAS percentage rates utilized

 by defendants were not a part of the Agreement, the defendants may not use those COPAS

 percentage rates to determine the amount of its overhead with respect to the construction of the

 Project.”




 3   by varying the COPAS (Council of Petroleum Accountants Societies, Inc.)




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 SAI Trust Alleged Fact No. 33:

        33. The issue of what can and cannot be used in calculating the NPI has already been

 fully litigated and adjudicated. Membreno Dec., ¶34.

 Response to No. 33:

        Denied. SAI Trust has failed to provide any admissible evidence regarding the issues

 decided as a result of the 1992 trial. The scope of issues resolved in an earlier proceeding is a

 legal matter for the Court to resolve and not a material fact to be determined by the parties.

 Further, the 1992 Judgment is limited to analysis and discussion Paragraphs 1.2(b) and (c) of the

 Purchase Agreement and the calculations of “Invested Capital.” Paragraphs 1.2(b) and (c) of the

 Purchase Agreement focus solely on the “Purchase Price” paid and “Invested Capital” is a

 defined term related to the Buyer’s cost of constructing the West Ford Plant and other costs

 incurred prior to the Date of First Commercial Operation. There is no discussion in the 1992

 Judgment about Operating Expenses or what categories of direct operating expenses are properly

 included in the NPI calculation.      There is no discussion of allocation of expenses from

 consolidated operations, nor could there be as the West Ford Plant was a stand-alone plant in

 1992. See Exhibit I to Membreno Declaration.



 SAI Trust Alleged Fact No. 34:

        34. Accordingly, Debtors are estopped by the principles of issue preclusion, claim

 preclusion and/or judicial estoppel from again attempting to alter the manner in which NPI is

 calculated under the terms of the Agreement for Purchase.

 Response to No. 34:

        Whether the Reorganized Debtors’ are estopped by the principles of issue preclusion,

 claim preclusion and/or judicial estoppel are questions of law for the Court to resolve and are not


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 material facts. The Reorganized Debtors’ hereby incorporate by reference its argument set forth

 in the Reorganized Debtors’ Response to SAI Trust’s Motion for Summary Judgment. Further,

 the Reorganized Debtors have never had a full and fair opportunity to litigate these issues before

 this Court now – namely whether the Reorganized Debtors properly allocate costs and expenses

 pursuant to the Purchase Agreement, particularly not in a dispute that pre-dates the consolidation

 of the Geysers by nine years. See e.g. Second Tipton Decl. ¶¶ 3-6.



 SAI Trust Alleged Fact No. 35:

        35. Between July, 1994 through December, 2000, no NPI statement prepared by Calpine

 contained a line item entry for “Allocated Expenses.” Membreno Dec., ¶35.

 Response to No. 35:

        The Reorganized Debtors incorporate their response to Alleged Fact Nos. 9-13.



 SAI Trust Alleged Fact No. 36:

        36. Commencing in or about April, 2001, Calpine unilaterally began to include line item

 expenses under the heading “Allocated Expenses.” Membreno Dec., ¶36.

 Response to No. 36:

        The Reorganized Debtors incorporate their response to Alleged Fact Nos. 9-13.



 SAI Trust Alleged Fact No. 37:

        37. The uncertified NPI statements that Calpine has provided since April, 2001 use

 budgeted figures, as opposed to actual figures. Membreno Dec., ¶37.




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 Response to No. 37:

        Undisputed but immaterial. The Reorganized Debtors use a commercially reasonable

 method of allocation to determine direct operating expenses when calculating the Net Profits

 Interest. Because the West Ford Plant is no longer a stand-alone plant, Calpine allocates costs

 the West Ford Plant based on the yearly budgeted costs in relation to the other plants at the

 Geysers’ facility. First Tipton Decl. ¶¶ 12-15.



 SAI Trust Alleged Fact No. 38:

        38. The uncertified NPI statements that Calpine has provided since April, 2001 include

 costs and expenses attributable to facilities other than West Ford Flat which are not properly

 attributable to West Ford Flat under the Agreement for Purchase and not chargeable to SAI.

 Membreno Dec., ¶38.

 Response to No. 38:

        Disputed. The Reorganized Debtors use a commercially reasonable method of allocation

 to determine direct operating expenses when calculating the Net Profits Interest. Because the

 West Ford Plant is no longer a stand-alone plant, the Reorganized Debtors allocate costs the

 West Ford Plant based on the yearly budgeted costs in relation to the other plants at the Geysers’

 facility. First Tipton Decl. ¶¶ 12-15. The allocated expenses represent West Ford Plant’s share

 of the operating expenses, determined by the pro rata share of the annual budgeted costs and no

 allocations attributable to other plants are charged to the NPI Calculation. Third Tipton Decl.

 ¶ 10. West Ford Plant’s yearly budgeted costs have fluctuated between 3% and 6% and the

 direct operating expenses reflect the applicable percentage. First Tipton Decl. ¶ 13. Further,

 whether allocated expenses are permissible under the Purchase Agreement and chargeable to SAI




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 Trust are questions of law and not properly a material fact to be determined by the parties.

 Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct. App. 2007).



 SAI Trust Alleged Fact No. 39:

          39. Commencing in April, 2001 (effective January, 2001) Calpine calculated the

 overhead expense based on both Lease Operating Expenses and “Allocated Expenses.”

 Membreno Dec., ¶39.

 Response to No. 39:

          The Reorganized Debtors incorporate their response to SAI Trust alleged facts numbers

 13-14.



 SAI Trust Alleged Fact No. 40:

          40. From July, 1994 through December, 2000, overhead was calculated solely based on

 Lease Operating Expenses. Membreno Dec., ¶40.

 Response to No. 40:

          The Reorganized Debtors incorporate their response to SAI Trust alleged facts numbers

 9-10.



 SAI Trust Alleged Fact No. 41:

          41. Journal entries which Debtors’ claim support the “Allocated Expenses” are not

 specific to the West Ford Flat plant. Membreno Dec., ¶41.

 Response to No. 41:

          Disputed-in-part but immaterial. SAI Trust receives monthly reports with each monthly

 NPI payment. First Tipton Decl. ¶¶ 9, 16. SAI Trust has failed to provide any admissible



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 evidence about whether the journal entries are specific to the West Ford Plant. Mr. Membreno

 does not have personal knowledge to support his general allegations about the Reorganized

 Debtors’ accounting system or journal entries. The monthly reports include support for both the

 revenue and cost calculations used to determine the monthly NPI payments. The allocated

 expenses represent West Ford Plant’s share of the operating expenses, determined by the pro rata

 share of the annual budgeted costs and no allocations attributable to other plants are charged to

 the NPI Calculation. While the line-item journal entries included as back-up support represent

 the full consolidated expenses of the appropriate unit at the Geysers, only West Ford Plant’s

 allocated share of those journal entries are charged to SAI Trust. Third Tipton Decl. ¶¶ 6, 9-10;

 First Tipton Decl. ¶¶ 9-11.



 SAI Trust Alleged Fact No. 42:

        42. An audit of the journal entries which Debtors claim support the “Allocated Expenses”

 attributable to West Ford Flat would be impossible given the lack of specificity for said journal

 entries. Membreno Dec., ¶42.

 Response to No. 42:

        Disputed. SAI Trust has failed to provide any admissible evidence about whether an

 audit would be possible or not as Mr. Membreno has not established any qualifications to proffer

 such an opinion nor does Mr. Membreno have personal knowledge to support his general

 assertion about the Reorganized Debtors’ accounting system or journal entries. The monthly

 reports are created in the ordinary course of the Reorganized Debtors’ business operations and

 are prepared following guidelines similar to monthly royalty calculations. The Reorganized

 Debtors utilize the same PeopleSoft database in calculating the NPI payments as it does for

 numerous other royalty payments. The journal entries are properly accounted for as operating


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 expenses in the Reorganized Debtors’ PeopleSoft database, complete with supporting

 information when appropriate. The monthly NPI reports are fair and accurate to the best of the

 Reorganized Debtors’ abilities at the time they are prepared and provided to SAI Trust. Third

 Tipton Decl. ¶¶ 6-9. It would be possible to audit the Reorganized Debtors’ calculation of the

 monthly NPI reports. Such an audit would be a substantial undertaking, given the breadth and

 scope of SAI Trust’s disputed claims, but it would be possible. Third Tipton Decl. ¶¶ 6, 9-10.

 Finally, the Reorganized Debtors provide the underlying data necessary to confirm its calculation

 of the NPI to SAI Trust with each monthly report, in the form of the NPI calculation sheet and a

 query of the underlying data. First Tipton Decl. ¶¶ 9, 16.



 SAI Trust Alleged Fact No. 43:

        43. Journal entries which Debtors claim support the “Allocated Expenses” attributable to

 West Ford Flat are, in fact, attributable to plants other than West Ford Flat. Membreno Dec.,

 ¶43.

 Response to No. 43:

        Disputed-in-part but immaterial. Te Reorganized Debtors incorporate their response to

 SAI Trust’s alleged fact number 41.



 SAI Trust Alleged Fact No. 44:

        44. There is no sound basis, in accordance with generally accepted accounting principles,

 for the unilateral change in accounting procedures that occurred on or about April, 2001.

 Membreno Dec., ¶44.




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 Response to No. 44:

        Disputed but immaterial. SAI Trust has not provided any admissible evidence that any

 change in accounting procedures was in accordance with generally accepted accounting

 principles as Mr. Membreno is not qualified to provide that opinion. Further the Reorganized

 Debtors did not make any unilateral change in accounting procedures in calculating the monthly

 NPI payment. The categories of costs and expenses included in Allocated Expenses had always

 been included as Operating Expenses. The Reorganized Debtors added the sub-heading for

 Allocated Expenses to provide transparency in their NPI calculation. Third Tipton Decl. at ¶ 6.

 Allocated Expenses are a subset of Lease Operating Expenses included after the Geysers made

 the management decision to consolidate operations of the West Ford Plant with the Geysers after

 it came to own substantially all of power plants at the Geysers. Second Tipton Decl. at ¶ 6. The

 Allocated expenses represent West Ford Plant’s share of the operating expenses, determined by

 the pro rata share of the annual budgeted costs. First Tipton Decl. at ¶¶ 12-13. Allocated

 expenses are not a new category of expenses, but are those categories of expenses and operations

 that are allocated from consolidated business operations. Third Tipton Decl. at ¶¶ 4-5, 10.



 SAI Trust Alleged Fact No. 45:

        45. As a result of the unilateral change in accounting procedures undertaken by Debtors,

 SAI’s net profit interest was less in each year over year period compared with any year between

 1994 through 2000 inclusive, which is counterintuitive, as the basis for Calpine’s consolidation

 of 16 plants which comprise the Geysers’ Region was to reduce costs and increase profits.

 Membreno Dec., ¶45.




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 Response to No. 45:

        Disputed but immaterial. The categories of costs and expenses included in Allocated

 Expenses had always been included as Operating Expenses. The Reorganized Debtors did not

 make any unilateral change in accounting procedures in calculating the monthly NPI payment.

 The categories of costs and expenses included in Allocated Expenses had always been included

 as Operating Expenses. The Reorganized Debtors added the sub-heading for Allocated Expenses

 to provide transparency in their NPI calculation. Third Tipton Decl. at ¶ 6. Allocated Expenses

 are a subset of Lease Operating Expenses included after the Geysers made the management

 decision to consolidate operations of the West Ford Plant with the Geysers after it came to own

 substantially all of power plants at the Geysers. Second Tipton Decl. at ¶ 6. The Allocated

 expenses represent West Ford Plant’s share of the operating expenses, determined by the pro rata

 share of the annual budgeted costs. First Tipton Decl. at ¶¶ 12-13. Allocated expenses are not a

 new category of expenses, but are those categories of expenses and operations that are allocated

 from consolidated business operations. Third Tipton Decl. at ¶ 4-5, 10. SAI Trust fails to

 provide any admissible evidence to support its assertion that the Reorganized Debtors sought to

 reduce costs and increase profits. SAI Trust has no management right or control over the

 Reorganized Debtors and Mr. Membreno has no personal knowledge of those operations.

        Further, SAI Trust’s annual NPI payments in 1999 totaled $52,095.47, while the

 payments from 2001 through today have all been in excess of $412,000, including more than

 $600,000 in 2001. Third Tipton Decl. ¶ 11.



 SAI Trust Alleged Fact No. 46:

        46. At no time was there a meeting of the minds between Debtors and SAI Trust to

 modify or alter the Agreement for Purchase beginning in 2001. Membreno Dec., ¶46.


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 Response to No. 46:

        Disputed-in-part but immaterial. Whether there was a “meeting of the minds” between

 the Debtors to modify or alter the Purchase Agreement is a question of law for the Court to

 resolve and not a material fact. Further, the parties dispute focuses on the interpretation of the

 plain language of the Purchase Agreement and there is no dispute about whether there was some

 alteration or amendment of the Purchase Agreement. SAI Trust fails to identify any admissible

 evidence as Mr. Membreno does not have any first hand knowledge of the Reorganized Debtors’

 beliefs and/or state of mind.



 SAI Trust Alleged Fact No. 47:

        47. Debtors unilaterally altered the terms of the Agreement for Purchase beginning in

 2001. Membreno Dec., ¶47.

 Response to No. 47:

        Disputed. The Reorganized Debtors incorporate their response to SAI Trust alleged facts

 numbers 44-45.



 SAI Trust Alleged Fact No. 48:

        48. Debtors’ decision to unilaterally alter the terms of the Agreement for Purchase

 beginning in 2001 was a breach of the Agreement of Purchase. Membreno Dec., ¶48.

 Response to No. 48:

        Whether the Reorganized Debtors breached the Purchase Agreement is a question of law

 for the Court to determine and is not a material fact for either SAI Trust or the Reorganized

 Debtors to determine. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). To the extent the breach of the Purchase Agreement is properly a material fact, it is



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 disputed and the Reorganized Debtors’ incorporate by reference their arguments set forth in their

 Response to SAI Trust’s Motion for Summary Judgment as well as their Response to SAI Trust’s

 alleged facts numbers 44-45 and 47. Further, SAI Trust fails to identify any admissible evidence

 in support of this alleged undisputed fact as his unsupported assertion is not based upon

 admissible evidence nor is he competent to testify on the interpretation of the contract terms at

 issue.



 SAI Trust Alleged Fact No. 49:

          49. Debtors’ decision to unilaterally alter the terms of the Agreement for Purchase

 beginning in 2001 was a breach of the Settlement Agreement. Membreno Dec., ¶49.

 Response to No. 49:

          Whether the Reorganized Debtors breached the Settlement Agreement is a question of

 law for the Court to determine and is not a material fact for either SAI Trust or the Reorganized

 Debtors to determine. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). To the extent the breach of the Settlement Agreement is properly a material fact, it

 is disputed and immaterial and the Reorganized Debtors’ incorporate by reference their

 arguments set forth in their Response to SAI Trust’s Motion for Summary Judgment as well as

 their Response to SAI Trust’s alleged facts numbers 44-45 and 47. Further, SAI Trust fails to

 identify any admissible evidence in support of this alleged undisputed fact as his unsupported

 assertion is not based upon admissible evidence nor is he competent to testify on the

 interpretation of the contract terms at issue. Finally, the dispute at issue in this litigation is

 focused on the interpretation of the Purchase Agreement. SAI Trust has not argued that the

 Reorganized Debtors breached the Settlement Agreement and that issue is irrelevant to whether




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 SAI Trust’s proofs of claim against the estate are valid or whether the Reorganized Debtors

 breached the Purchase Agreement.



 SAI Trust Alleged Fact No. 50:

        50. Debtors’ decision to unilaterally alter the terms of the Agreement for Purchase

 beginning 2001 was contrary to a Judgment on an issue that had already been fully litigated

 between these identical parties. Membreno Dec., ¶50.

 Response to No. 50:

        Disputed. The Reorganized Debtors incorporate their response to SAI Trusts alleged

 facts numbers 44-45 an 47 to the extent SAI Trust argues that the Reorganized Debtors

 unilaterally altered the terms of the Agreement Purchase. Further, SAI Trust failed to introduce

 any evidence that the 1992 Judgment relates in any way to the dispute at issue in this litigation.

 There is evidence other than the unqualified and unsupported assertions by Mr. Membreno of

 whether the issues in the 1992 dispute relate in any manner to the dispute at issue and what, if

 any, issue was litigated in that dispute. The Reorganized Debtors the incorporate by reference

 their arguments set forth in their Response to SAI Trust’s Motion for Summary Judgment.



 SAI Trust Alleged Fact No. 51:

        51. Calpine has completely ignored the undeniable, namely that Debtors’ have (and

 continue to) breach the underlying agreements with SAI, inter alia, by failing to provide a

 certified NPI Statement singed by Debtors’ Chief Financial Officer for at least four (4) years pre-

 petition (and all post petition), using budgeted numbers as opposed to actual cost figures, and

 calculating overhead. SAI disputes Debtors’ improper use of allocating costs from other plants

 and including costs not subject to the agreement, allocating expenses from other plants as costs,


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 and charging an overhead percentage based on budgeted figures, inappropriate costs, and

 allocated costs. Membreno Dec., ¶51.

 Response to No. 51:

         The Reorganized Debtors incorporate their response to SAI Trusts alleged facts

 numbered 9-13, 15, 16, 21, 37-38, and 48.



 SAI Trust Alleged Fact No. 52:

         52. SAI brought to Debtors’ attention that it noticed increases in costs, inclusions of

 costs, and allocations of costs since receipt of its last statement certified by Debtors’ chief

 financial officer. Membreno Dec., ¶52.

 Response to No. 52:

         Undisputed that the Reorganized Debtors met on multiple occasions with SAI Trust and

 its representatives to discuss the NPI calculations. See First Tipton Decl. ¶ 8; Third Tipton Decl.

 ¶ 12.



 SAI Trust Alleged Fact No. 53:

         53. SAI attempted to communicate with Debtors and determine whether these increases

 in costs, inclusions of costs, and allocations of costs are in accordance with the Agreement for

 Purchase and Settlement Agreement. Membreno Dec., ¶52.

 Response to No. 53:

         Disputed-in-part. The Reorganized Debtors met with SAI Trust on multiple occasions

 and provided substantial supplemental information in an effort to alleviate SAI Trust’s concerns.

 First Tipton Decl. ¶¶ 5-8; Third Tipton Decl. ¶ 12. The discussions focused on the proper




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 interpretation of the Purchase Agreement and not the Settlement Agreement. Third Tipton Decl.

 ¶ 12.



 SAI Trust Alleged Fact No. 54:

          54. Debtors have not provided SAI with statements certified by their chief financial

 officer. Membreno Dec., ¶52.

 Response to No. 54:

          The Reorganized Debtors incorporate their response to SAI Trust’s alleged fact numbers

 17-21.



 SAI Trust Alleged Fact No. 55:

          55. Debtors have not provided SAI with sufficient access to its records to determine

 whether the calculation of NPI (although uncertified by the chief financial officer) was in

 accordance with the Agreement For Purchase. Membreno Dec., ¶52.

 Response to No. 55:

          Disputed. See First Tipton Decl. ¶¶ 5-8. The Reorganized Debtors met with SAI Trust

 on multiple occasions and provided substantial supplemental information in an effort to alleviate

 SAI Trust’s concerns. Id. ¶ 6-8. Further there is no evidence that SAI Trust requested an audit

 pursuant to the Purchase Agreement and SAI Trust does not assert that it ever did so. Third

 Tipton Decl. ¶ 9. See also contradictory statements in Membreno Decl. ¶ 42 (asserting that an

 audit would not be possible.)



 SAI Trust Alleged Fact No. 56:

          56. Debtors have not reasonably cooperated with SAI so SAI could conduct an audit of



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 the uncertified records. Membreno Dec., ¶52.

 Response to No. 56:

        Disputed. See First Tipton Decl. ¶¶ 5-8. The Reorganized Debtors met with SAI Trust

 on multiple occasions and provided substantial supplemental information in an effort to alleviate

 SAI Trust’s concerns. Third Tipton Decl. ¶ 12.



 SAI Trust Alleged Fact No. 57:

        57. Debtors have not maintained complete and accurate accounting records of the

 accounts used to calculate NPI. Membreno Dec., ¶52.

 Response to No. 57:

        Disputed. SAI Trust has failed to provide any admissible evidence regarding whether the

 Reorganized Debtors’ accounting records of the accounts used to calculate the NPI are complete

 or accurate. Mr. Membreno’s declaration, the only evidence cited, does not contain any factual

 support for his assertion, nor does it set forth any basis for Mr. Membreno to have any

 knowledge of the Reorganized Debtors’ accounting records. Further, the evidence submitted by

 the Reorganized Debtors shows that they met with SAI Trust and its accountants on multiple

 occasions, provided substantial supplemental information when requested by SAI Trust, and

 provided detailed financial information each month in support of the NPI calculation. See First

 Tipton Decl. ¶¶ 9-11, 16. Further, the NPI calculation is made in the ordinary course of the

 Reorganized Debtors’ business operations, using the PeopleSoft database utilized by the entire

 Reorganized Debtors’ for their business operations. Third Tipton Decl. ¶¶ 6-7, 9.



 SAI Trust Alleged Fact No. 58:

        58. Debtors have not maintained accounting records sufficient to show in reasonable


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 detail the calculation of NPI in accordance with the Agreement for Purchase. Membreno Dec.,

 ¶52.

 Response to No. 58:

        Disputed. SAI Trust has failed to provide any admissible evidence regarding whether the

 Reorganized Debtors’ accounting records show in reasonable detail the calculation of the NPI.

 Mr. Membreno’s declaration, the only evidence cited, does not contain any factual support for

 his assertion, nor does it set forth any basis for Mr. Membreno to have any knowledge of the

 Reorganized Debtors’ accounting records. Further, the evidence submitted by the Reorganized

 Debtors shows that they met with SAI Trust and its accountants on multiple occasions, provided

 substantial supplemental information when requested by SAI Trust, and provided detailed

 financial information each month in support of the NPI calculation. See First Tipton Decl. ¶¶ 9-

 11, 16. Further, the NPI calculation is made in the ordinary course of the Reorganized Debtors’

 business operations, using the PeopleSoft database utilized by the entire Reorganized Debtors’

 for their business operations. Third Tipton Decl. ¶¶ 6-7, 9. Finally, whether the NPI calculation

 is made in accordance with the Purchase Agreement is a question of law to be resolved by the

 Court and not a material fact to be determined by the parties. Roden v. AmerisourceBergen

 Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct. App. 2007).



 SAI Trust Alleged Fact No. 59:

        59. Debtors have not maintained accounting records sufficient to show in reasonable

 detail the calculation of direct operating expenses and the general and administrative expenses in

 accordance with the Agreement for Purchase. Membreno Dec., ¶52.




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 Response to No. 59:

        Disputed. SAI Trust has failed to provide any admissible evidence regarding whether the

 Reorganized Debtors’ accounting records show in reasonable detail the calculation of direct

 operating expenses and the general and administrative expenses in accordance with the Purchase

 Agreement. Mr. Membreno’s declaration, the only evidence cited, does not contain any factual

 support for his assertion, nor does it set forth any basis for Mr. Membreno to have any

 knowledge of the Reorganized Debtors’ accounting records. Further, the evidence submitted by

 the Reorganized Debtors shows that they met with SAI Trust and its accountants on multiple

 occasions, provided substantial supplemental information when requested by SAI Trust, and

 provided detailed financial information sufficient to confirm the calculation of the NPI payment

 each month. See First Tipton Decl. ¶¶ 9-11, 16. Further, the NPI calculation is made in the

 ordinary course of the Reorganized Debtors’ business operations, using the PeopleSoft database

 utilized by the entire Reorganized Debtors’ for their business operations. Third Tipton Decl.

 ¶¶ 6-7, 9.    Finally, whether the NPI calculation is made in accordance with the Purchase

 Agreement is a question of law to be resolved by the Court and not a material fact to be

 determined by the parties. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007).



 SAI Trust Alleged Fact No. 60:

        60. Debtors have not properly accounted for the general and administrative expenses in

 accordance with the Agreement for Purchase. Membreno Dec., ¶52.

 Response to No. 60:

        Disputed.    Whether the NPI calculation is made in accordance with the Purchase

 Agreement is a question of law to be resolved by the Court and not a material fact to be


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 determined by the parties. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). Further, SAI Trust has failed to provide any admissible evidence regarding whether

 the Reorganized Debtors’ accounting records show in reasonable detail the calculation of direct

 operating expenses and the general and administrative expenses in accordance with the Purchase

 Agreement. Mr. Membreno’s declaration, the only evidence cited, does not contain any factual

 support for his assertion.    Finally, the Reorganized Debtors provide detailed financial

 information sufficient to confirm the calculation of the NPI payment each month. See First

 Tipton Decl. ¶¶ 9-11, 16.



 SAI Trust Alleged Fact No. 61:

        61. Debtors have not identified and accounted for many costs associated with the

 operation of the power plant governed by the Agreement for Purchase. Membreno Dec., ¶52.

 Response to No. 61:

        Disputed.   Whether the NPI calculation is made in accordance with the Purchase

 Agreement is a question of law to be resolved by the Court and not a material fact to be

 determined by the parties. Roden v. AmerisourceBergen Corp., 67 Cal. Rptr. 3d 26, 39 (Cal. Ct.

 App. 2007). Further, SAI Trust has failed to provide any admissible evidence regarding whether

 the Reorganized Debtors’ accounting records show in reasonable detail the calculation of direct

 operating expenses and the general and administrative expenses in accordance with the Purchase

 Agreement. Mr. Membreno’s declaration, the only evidence cited, does not contain any factual

 support for his assertion.    Finally, the Reorganized Debtors provide detailed financial

 information sufficient to confirm the calculation of the NPI payment each month. See First

 Tipton Decl. ¶¶ 9-11, 16.




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 SAI Trust Alleged Fact No. 62:

        62. Debtors have improperly included “allocated costs” to SAI which were never

 included for any of the monthly NPI’s from August, 1989 through December, 2000, and have

 failed and refused to identify and account for many costs associated with the operation of the

 power plants governed by the Agreement For Purchase. Membreno Dec., ¶52.

 Response to No. 62:

        Disputed. The Reorganized Debtors incorporate their responses to SAI Trust’s alleged

 facts numbers 9-13, 52-60.



 SAI Trust Alleged Fact No. 63:

        63. In an effort to resolve the ongoing disputes regarding Debtors’ non-compliance with

 the Agreement for Purchase and Settlement Agreement, SAI and its counsel met with Debtors,

 representative employees of Debtors, and Debtors’ counsel. Such discussions did not resolve the

 ongoing disputes. Membreno Dec., ¶53.

 Response to No. 63:

        Disputed-in-part. Whether the Reorganized Debtors are in compliance with the Purchase

 Agreement is a matter of law for the Court to resolve and not a material fact for the parties to

 resolve. Additionally, the Reorganized Debtors met with SAI Trust on multiple occasions and

 provided substantial supplemental information in an effort to alleviate SAI Trust’s concerns.

 First Tipton Decl. ¶ 8. The Debtors incorporate their response to SAI Trust’s alleged fact

 number 53.



 SAI Trust Alleged Fact No. 64:

        64. However, Debtors acknowledged, inter alia, that they were unaware of the underlying



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 agreements. Membreno Dec., ¶53.

 Response to No. 64:

        Disputed.    SAI Trust has not provided any admissible evidence that supports its

 allegation that the Reorganized Debtors were unaware of the Purchase Agreement. There is no

 explanation for why the Reorganized Debtors provided a monthly NPI payment to SAI Trust if it

 was not required to do so by the Purchase Agreement. Third Tipton Decl. ¶ 12. Further, Mr.

 Membreno’s declaration fails to identify whether he was present at the meetings, when such an

 alleged statement was made and who at the Reorganized Debtors’ allegedly made such a

 statement and such a statement, if made, is inadmissible hearsay. Such vague and unsupported

 allegations are not admissible evidence sufficient to support a material fact. Further, Mr. Tipton,

 who was present at meetings with SAI Trust representatives has been aware of the contractual

 requirement to provide SAI Trust with monthly NPI payments throughout his tenure at the

 Reorganized Debtors. Third Tipton Decl. ¶ 12.



 SAI Trust Alleged Fact No. 65:

        65. Debtors acknowledged, inter alia, that they have not complied with the underlying

 agreements in several respects. Membreno Dec., ¶53.

 Response to No. 65:

        Disputed but immaterial. SAI Trust has not provided any admissible evidence that

 supports its allegation that the Reorganized Debtors believed they failed to comply with he

 Purchase Agreement. Mr. Membreno’s declaration fails to identify whether he was present at the

 meetings, when such an alleged statement was made and who at the Reorganized Debtors’

 allegedly made such a statement and such a statement, if made, is inadmissible hearsay. Such

 vague and unsupported allegations are not admissible evidence sufficient to support a material


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 fact. Even if accurate, the question of whether the some individual at the Reorganized Debtors

 subjectively believed that the Reorganized Debtors did not comply with the Purchase Agreement

 is irrelevant to the issue of whether the plain language of the Purchase Agreement permits the

 Reorganized Debtors to manage the West Ford Plant as part of the consolidated Geysers unit and

 allocate direct operating expenses in calculating the NPI payment. Finally, Mr. Tipton, who was

 present at meetings with SAI Trust representatives recalls a discussion of the fact that the annual

 reports had not been certified by the Reorganized Debtors’ chief financial officer, but no other

 statement about whether the Reorganized Debtors were complying with the terms of the

 Purchase Agreement in calculating the monthly NPI payments. Third Tipton Decl. ¶ 12.



 SAI Trust Alleged Fact No. 66:

        66. Debtors acknowledged, inter alia, that they have not maintained the books and

 records in reasonable detail to properly calculate direct operating expenses and the general and

 administrative expenses in accordance with the underlying agreements. Membreno Dec., ¶53.

 Response to No. 66:

        Disputed.    SAI Trust has not provided any admissible evidence that supports its

 allegation that the Reorganized Debtors believed they failed to comply with he Purchase

 Agreement.    Mr. Membreno’s declaration fails to identify whether he was present at the

 meetings, when such an alleged statement was made and who at the Reorganized Debtors’

 allegedly made such a statement and such a statement, if made, is inadmissible hearsay. Such

 vague and unsupported allegations are not admissible evidence sufficient to support a material

 fact. Further, Mr. Tipton, who was present at multiple meetings with SAI Trust’s representatives

 does not believe that any such statement was ever made.          Third Tipton Decl. ¶ 12.      The




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 Reorganized Debtors’ further incorporate their response to SAI Trust’s alleged fact numbers 42

 and 56-60.



 SAI Trust Alleged Fact No. 67:

        67. Debtors acknowledged, inter alia, that they have not properly accounted for the

 general and administrative expenses in accordance with the underlying agreements, but rather,

 caused SAI to bear the expenses from adjacent plants inconsistent with the underlying

 agreements due to their own accounting preferences. Membreno Dec., ¶53.

 Response to No. 67:

        Disputed.    SAI Trust has not provided any admissible evidence that supports its

 allegation that the Reorganized Debtors believed they failed to comply with he Purchase

 Agreement.    Mr. Membreno’s declaration fails to identify whether he was present at the

 meetings, when such an alleged statement was made and who at the Reorganized Debtors’

 allegedly made such a statement and such a statement, if made, is inadmissible hearsay. Such

 vague and unsupported allegations are not admissible evidence sufficient to support a material

 fact. Further, Mr. Tipton, who was present at multiple meetings with SAI Trust’s representatives

 does not believe that any such statement was ever made. The Reorganized Debtors’ further

 incorporate their response to SAI Trust’s alleged fact numbers 42, 56-60.



 SAI Trust Alleged Fact No. 68:

        68. SAI has suffered $583,698.61 in damages as of August 1, 2008. However, SAI

 Trust’s damages are preliminary and partial, (as Debtors continue to breach the contract on a

 monthly basis) and do not include other potential damages/losses based on Debtors’ use of

 budgeted figures and not actual figures, charging 15% overhead on budgeted figures and not


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 actual figures and including allocated budgeted costs from other plants, and including costs not

 allowed to be included based on the parties contractual agreements and are limited to pre-petition

 matters. This preliminary calculation only addresses one are of damage/loss cased on Debtors’

 improperly allocating budgeted costs (from other plants that were not the subject of any

 agreement and certainly not the subject of the Agreement for Purchase) to SAI on a percentage

 basis and then adding 15% of these unsupported and unjustified “Allocated Expenses” as

 overhead. This preliminary calculation is for the period pre-petition of January 2001 through

 May, 2008. Said amount totals $583,698.61. Membreno Dec., ¶58.

 Response to No. 68:

        Disputed. As set forth in their Motion for Summary Adjudication and in their Response

 to SAI Trust’s Motion for Summary Judgment, SAI Trust has not suffered any damages and

 receives the full amount of NPI every month. The Reorganized Debtors incorporate their Motion

 for Summary Adjudication and their Response to SAI Trust’s Motion for Summary Judgment

 herein. The Reorganized Debtors incorporate their response to SAI Trust’s alleged fact number

 69.



 SAI Trust Alleged Fact No. 69:

        69. A table of all of the “Allocated Expenses” from January, 2001 through May, 2008, is

 set forth below for the Court’s convenience. This includes the unauthorized addition of 15% of

 “Allocated Expenses” to the overhead, as well as interest at the rate of 9% for each unauthorized

 charge from April 1, 2001 through August 1, 2008. Membreno Dec., ¶59, Rule 56.1, ¶69.

 Response to No. 69:

        Disputed. SAI Trust has not submitted any admissible evidence that lay a foundation for

 the chart contained in Mr. Membreno’s declaration. Further, the Reorganized Debtors’ are


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 permitted pursuant to the Purchase Agreement and Exhibit F attached thereto to allocate

 operating expenses and include 15% of those costs necessary for the Joint Operations in

 calculating the NPI payment. See Third Tipton Decl. ¶ 8. The Reorganized Debtors incorporate

 their response to SAI Trust’s alleged fact number 15.



 SAI Trust Alleged Fact No. 70:

        70. SAI Trust is entitled to damages in the amount of $583,698.61, plus any damages

 resulting from further breaches of the Agreement for Purchase by debtors going forward in the

 manner calculated herein, plus post judgment interest at the rate of 9%.

 Response to No. 70:

        Disputed. As set forth in their Motion for Summary Adjudication and in their Response

 to SAI Trust’s Motion for Summary Judgment, SAI Trust has not suffered any damages and

 receives the full amount of NPI every month. The Reorganized Debtors incorporate their

 response to SAI Trust’s alleged fact number 68.



  THE REORGANIZED DEBTORS’ ADDITIONAL UNDISPUTED MATERIAL FACTS
   IN SUPPORT OF THE REORGANIZED DEBTORS’ RESPONSE TO SAI TRUST’S
                              MOTION.

        1. SAI Trust filed its “Limited Response of Robert Membreno, Trustee of SAI Trust to

 Debtors' First Omnibus Objection (Duplicative Claims, Beneficial Noteholder Claims and Equity

 Interest Claims)” on October 13, 2006. See Docket No. 2850.

        2. SAI Trust filed its “Withdrawal of Limited Response of Robert Membreno, Trustee

 of SAI Trust to Debtors' First Omnibus Objection (Duplicative Claims, Beneficial Noteholder

 Claims and Equity Interest Claims)” on October 20, 2006. See Docket No. 2915.

        3. SAI Trust filed its “Response of Robert Membreno, Trustee of SAI Trust to Debtors'


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 Eleventh Omnibus Objection to Proofs of Claims, Equity Interest Claims, Unliquidated Claims,

 Anticipatory Claims, Claims to be Adjusted and Wrong Debtors Claims to be Adjusted” on April

 27, 2007. See Docket No. 4513.

         4. SAI Trust filed its Motion for Relief from Stay Filed by William J. Healy on Behalf

 of Robert Membreno, Trustee of SAI Trust and related papers on May 7, 2007. See Docket No.

 4575.

         5. SAI Trust filed its Letter to the Honorable Burton R. Lifland Filed by William J.

 Healy on Behalf of Robert Membreno, Trustee of SAI Trust on May 25, 2007. See Docket No.

 4730.

         6. SAI Trust filed its “Further Response of Robert Membreno, Trustee of SAI Trust to

 Debtors' Eleventh Omnibus Objection to Proofs of Claims, Equity Interest Claims, Unliquidated

 Claims, Anticipatory Claims, Claims to be Adjusted and Wrong Debtor Claims to be Adjusted

 and Reply to Debtors' Objection to SAI's Motion for Relief from Stay” and related papers on

 June 11, 2007. See Docket No. 4892.

         7. SAI Trust filed its “Response of Robert Membreno, Trustee of SAI Trust to Debtors'

 Eighteenth Omnibus Objection to Proofs of Claims, Equity Interest Claims, Unliquidated

 Claims, Anticipatory Claims, Claims to be Adjusted and Wrong Debtor Claims to be Adjusted”

 and related papers on September 4, 2007. See Docket No. 5759.

         8. SAI Trust filed its “Response of Robert Membreno, Trustee of SAI Trust to Debtors'

 Eighteenth Omnibus Objection to Proofs of Claims, Equity Interest Claims, Unliquidated

 Claims, Anticipatory Claims, Claims to be Adjusted and Wrong Debtor Claims to be Adjusted”

 and related papers on September 7, 2007. See Docket No. 5801.

         9. SAI Trust filed its “Response of Robert Membreno, Trustee of SAI Trust to Debtors'




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 Twenty Second Omnibus Objection to Proofs of Claims, Equity Interest Claims, Unliquidated

 Claims, Anticipatory Claims, Claims to be Adjusted and Wrong Debtor Claims to be Adjusted”

 and related papers on October 12, 2007. See Docket No. 6294.

        10. SAI Trust filed its “Status Report of Robert Membreno, Trustee of SAI Trust

 Regarding Debtors' Eighteenth and Twenty Second Omnibus Objection to SAI Trust's Proofs of

 Claim” on June 9, 2008. See Docket No. 7822.

        11. SAI Trust filed its “Status Report of Robert Membreno, Trustee of SAI Trust

 Regarding Debtors' Eighteenth and Twenty Second Omnibus Objection to SAI Trust's Proof of

 Claim” on July 22, 2008. See Docket No. 7868.

        12. SAI Trust appeared before this Court for a hearing on January 30, 2008 regarding its

 Motion to Lift the Automatic Stay. See Keegan Declaration in Support of Reorganized Debtors’

 Response to SAI Trust’s Motion for Summary Judgment, Ex. A and Docket No. 7746.

        13. SAI Trust appeared before this Court for a chambers’ conference on July 16, 2008.

 See Keegan Declaration in Support of Reorganized Debtors’ Response to SAI Trust’s Motion for

 Summary Judgment, Ex. B and Docket No. 7864.

        14. SAI Trust received the “Confirmation Hearing and Notice of Non-Voting Status with

 Respect to Disputed Claims” on or around October 6, 2007. See Keegan Declaration in Support

 of Reorganized Debtors’ Response to SAI Trust’s Motion for Summary Judgment, Ex. C.

        15. SAI Trust received the “Entry of Order Confirming the Sixth Amended Joint Plan of

 Reorganization of Calpine Corporation and Its Debtor Subsidiaries” on or around January 4,

 2008. See Keegan Declaration in Support of Reorganized Debtors’ Response to SAI Trust’s

 Motion for Summary Judgment, Ex. D.

        16. SAI Trust was aware of the Reorganized Debtors’ bankruptcy case at least as early as




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 the date of its first filing in the case, October 13, 2006. See Docket No. 2850.

        17. SAI Trust’s proofs of claim state that the asserted damages are “limited to pre-

 petition matters.” See Keegan Declaration in Support of Reorganized Debtors’ Response to SAI

 Trust’s Motion for Summary Judgment, Ex. E at page 4.

        18. SAI Trust never filed an amended proof of claim requesting payment of

 administrative expenses.

        19. SAI Trust never requested payment of administrative expenses.

        20. The Purchase Agreement does not preclude the Reorganized Debtors from operating

 the West Ford Plant as a part of the consolidated Geysers business unit.            See Purchase

 Agreement attached as Ex. A to Membreno Declaration.



 Dated: September 10, 2008                     Respectfully submitted,
        San Francisco, California
                                                       /s/ Christopher W. Keegan
                                               Richard M. Cieri (RC 6062)
                                               Marc Kieselstein (admitted pro hac vice)
                                               David Seligman (admitted pro hac vice)
                                               Jeffrey S. Powell (admitted pro hac vice)
                                               Mark E. McKane (admitted pro hac vice)
                                               Christopher W. Keegan (admitted pro hac vice)
                                               KIRKLAND & ELLIS LLP
                                               Citigroup Center
                                               153 East 53rd Street
                                               New York, New York 10022-4611
                                               Telephone: (212) 446-4800
                                               Facsimile: (212) 446-4900




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